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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ
AND LUIS GORDILLO, ET AL.,

individually and on behalf of all
others similarly situated,

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)

)
Petitioners-Plaintiffs, )
)

Vv. ) C.A. No. 18-10225-MLW

)

CHAD WOLF, ET AL., )
)

Respondents-Defendants. )

ORDER

 

WOLF, D.J. January 30, 2020

In view of the parties' responses to the January 27, 2020
Order, it is hereby ORDERED that:

1. The parties shall confer and, by February 3, 2020, report
whether they have reached an agreement to resolve petitioners'
Emergency Motion to Enjoin the Removal of Two Class Members (Docket
No. 466) (the "Motion™) concerning either or both class members.

2. If the Motion is not fully resolved by agreement,
respondents shall, by February 4, 2020, file their opposition.

3. Any reply shall be filed by February 10, 2020.

4. If necessary, a hearing on the Motion shall be held on

February 20, 2020, at 1:30 p.m.

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UNITED STATES DISTRICT JUDGE )
